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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 11–cv–03238–PAB–KMT


  SAMUEL M WALKER, and
  DIANE H WALKER,

         Plaintiffs,

  v.

  FRED WEGENER, individual and official capacity,
  BOBBY PRIESTLY, individual and official capacity,
  CINDY HARDEY, individual and official capacity,
  REBECCA BRAMLETT, individual and official capacity,
  AMY FRANCK, individual and official capacity,
  JUAN GALLEGOS, individual and official capacity,
  DEPT SGT BROWN, individual and official capacity,
  PARK COUNTY,
  PARK COUNTY COMMISSIONERS,
  ATTORNEY GENERAL, COLORADO, official capacity, and
  COURT CLERK, individual and official capacity,

         Defendants.

  ______________________________________________________________________________

             RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

  Magistrate Judge Kathleen M. Tafoya

         This matter is before the court on the “Motion to Dismiss of Defendants Suthers and

  McLimans.” (Doc. No. 3, filed Dec. 22, 2011 [Mot.].) For the following reasons the court

  recommends that Defendant Suthers and McLimans’1 Motion be granted.


         1
            Neither Defendant Suthers or Defendant McLimans are named in the caption of
  Plaintiffs’ Complaint. (See Doc. No. 1, filed Dec. 12, 2011 [Compl.].) Rather Defendant
  Suthers and McLimans are referred to as “Attorney General, Colorado” and “Court Clerk”
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                                    FACTUAL BACKGROUND

         The following factual background is derived from Plaintiffs’ Complaint and the parties’

  briefing with respect to this Recommendation. The court notes that a thorough recitation of the

  facts outlined in Plaintiffs’ Complaint is not necessary to address Defendants Suthers and

  McLimans’ Motion.

         Plaintiffs are residents of Teller County, Colorado and owned property in Park County,

  Colorado. (Compl. ¶ 20.) Prior to December 15, 2009, Plaintiffs raised, trained, and

  occasionally bred sled dogs on a 160-acre ranch near the town of Hartsel in Park County. (Id. ¶

  21.)

         On December 15, 2009, while Plaintiff Samuel Walker (Mr. Walker) was in California on

  business (see id. ¶ 33), Defendant Priestly, a Park County Animal Control Officer/Code

  Enforcement Officer (id. ¶ 11), received a call from a woman with the Humane Society of the

  United States about a complaint regarding the conditions of the dogs located at Plaintiffs’

  property (id. ¶ 51). Pursuant to that tip, Defendant Priestly stopped by the Park County Sheriff’s

  Office and contacted Defendant Wegener, the Park County Sheriff (id. ¶ 9), and two other Park

  County Animal Control/Code Enforcement Officers, Defendants Bramlett and Hardley (id. ¶¶

  12-13, 53-54).




  respectively. (Id. at 1.) (Id.) However, both defendants are referred to by name in the body of
  Plaintiffs’ Complaint. (Id. at ¶¶ 18-19.) To avoid confusion, hereinafter, the court refers to these
  defendants by name, rather than by the titles featured in the caption.

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         That same day, December 15, 2009, Defendants Wegener, Priestly, Bramlett, and

  Hardley allegedly entered Plaintiffs’ property without a warrant and documented the state of the

  dogs and Plaintiffs’ property. (Id. ¶¶ 54-59.) Defendants Wegener, Priestly, Bramlett, and

  Hardley also seized two of the approximately 100 dogs on Plaintiffs’ property. (Id. ¶ 62.) Later

  that day, Defendant Hardley drafted a search warrant, which was signed the following morning,

  December 16, 2009.2 (Id. ¶ 63.)

         On December 16, 2009, law enforcement officers entered Plaintiffs’ property pursuant to

  the search warrant obtained by Defendant Hardley. (Id. ¶ 92.) Defendant Priestly seized 30

  dogs from Plaintiffs’ property. (Id. ¶ 86.) Plaintiffs maintain that, during that search, their

  Miranda rights were violated (id. ¶¶ 94-101); Plaintiff Diane Walker (Ms. Walker) was coerced

  into giving her consent to allow a continued search of Plaintiffs’ property and seizure of the

  remaining dogs the following day (id. ¶¶ 102-103); and that Ms. Walker was allegedly coerced

  into signing a release of the dogs found on Plaintiffs’ property (see id. ¶¶ 116-118).

         On Thursday, December 17, 2009, Park county officials, other government officials, and

  civilian volunteers returned to Plaintiffs’ property. (Id. ¶ 126.) Plaintiffs allege that three

  unsupervised individuals took dogs, dog food, equipment, and other personal property from

  Plaintiffs’ property without accountability to Park County officials. (Id. ¶¶ 131-135.) Plaintiffs

  also allege that Defendants Franck and Hardey and other Animal Control Officers failed to



         2
            Plaintiffs maintain that the search warrant was almost entirely comprised of information
  obtained from Defendants’ warrantless entry onto Plaintiffs’ property on December 15, 2009.
  (Id. ¶ 64.)

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  properly account for and inventory Plaintiffs’ property, and that Plaintiffs’ property was taken

  without just compensation. (Id. ¶¶ 134-142, 147-148, 151, 154, 159.)

         Sometime “before Christmas day,” arrest warrants for Plaintiffs were issued, and

  Plaintiffs were ostensibly arrested on or around December 24, 2009. (See id. ¶¶ 166-68.) On

  January 11, 2010, an additional search warrant was issued to pick up five additional dead dogs

  from Plaintiffs’ property. (See id. ¶¶ 172-73.) Defendant Priestly also brought a backhoe to dig

  up a dog graveyard found on the property, which Plaintiffs maintain was beyond the scope of the

  search warrant. (Id. ¶¶ 170, 173, 189.) Plaintiffs also allege that some of the dead dogs

  recovered from the graveyard were left on the surface, creating a bio-hazard that threatened local

  endangered species. (Id. ¶¶ 186-187.)

         Plaintiffs maintain that Defendant McLimans, as the Park County Combined Court Clerk,

  is required to certify restitution balances for criminal defendants, and that she failed to ensure

  that Plaintiffs’ restitution balance was correct throughout the life of the balance. (Id. ¶¶ 194-95.)

  Plaintiffs maintain that their “[r]estitution balance was zero, but the system reported greater than

  zero.” (Id. ¶ 197.) Plaintiffs allege that “Casino’s [sic] seized [Plaintiffs’] property based upon

  incorrect balances reflected in the system.” (Id. ¶ 196.)

                                     PROCEDURAL HISTORY

         Plaintiffs filed their Complaint on December 12, 2011 wherein they assert several claims

  pursuant to 42 U.S.C. § 1983.3 (See Compl.) Defendants Suthers and McLimans’ Motion was


         3
           Plaintiffs also invoke “Colorado common law.” (Compl. at 1.) Whether Plaintiffs
  actually allege any state-law claims is discussed supra. Plaintiffs also reference a number of

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  filed on December 22, 2011. (See Mot.) Plaintiffs filed their “Answer to Defendants [sic]

  Motion to Dismiss” on January 18, 2012, which the court construes to be a response to

  Defendant Suthers and McLimans’ Motion. (Doc. No. 7 [Resp.].) Defendants Suthers and

  McLimans filed their “Reply Brief in Support of State Defendants’ Motion to Dismiss “ on

  January 31, 2012 (Doc. No. 17 [Reply].) Accordingly, this matter is ripe for the court’s review

  and recommendation.

                                       LEGAL STANDARDS

         A.      Pro Se Plaintiffs

         Plaintiffs are proceeding pro se. The court, therefore, “review[s] his pleadings and other

  papers liberally and hold[s] them to a less stringent standard than those drafted by attorneys.”

  Trackwell v. United States, 472 F.3d 1242, 1243 (10th Cir. 2007) (citations omitted); see also

  Haines v. Kerner, 404 U.S. 519, 520 (1972) (holding allegations of a pro se complaint “to less

  stringent standards than formal pleadings drafted by lawyers”). However, a pro se litigant’s

  “conclusory allegations without supporting factual averments are insufficient to state a claim

  upon which relief can be based.” Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)

  (citations omitted). A court may not assume that a plaintiff can prove facts that have not been

  alleged, or that a defendant has violated laws in ways that a plaintiff has not alleged. Associated

  Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 526 (1983); see



  federal criminal statutes in their Complaint. (Id. at 23-25, 27-28, 30.) However, such criminal
  statutes do not provide a private cause of action. Shaw v. Neece, 727 F.2d 947, 949 (10th Cir.
  1984); see also Winslow v. Romer, 759 F.Supp. 670, 673 (D. Colo. 1991) (“Private citizens
  generally have no standing to institute federal criminal proceedings.”)

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  also Whitney v. New Mexico, 113 F.3d 1170, 1173-74 (10th Cir. 1997) (a court may not “supply

  additional factual allegations to round out a plaintiff’s complaint”); Drake v. City of Fort Collins,

  927 F.2d 1156, 1159 (10th Cir. 1991) (the court may not “construct arguments or theories for the

  plaintiff in the absence of any discussion of those issues”).

         B.      Lack of Personal Jurisdiction

         Federal Rule of Civil Procedure 12(b)(2) provides that a defendant may move to dismiss

  a complaint for “lack of jurisdiction over the person.” Fed. R. Civ. P. 12(b)(2). Plaintiffs bear

  the burden of establishing personal jurisdiction over Defendants. OMI Holdings, Inc. v. Royal

  Ins. Co., 149 F.3d 1086, 1091 (10th Cir. 1998). In the preliminary stages of litigation, Plaintiffs’

  burden is light. Wenz v. Memery Crystal, 55 F.3d 1503, 1505 (10th Cir. 1995). Where, as here,

  there has been no evidentiary hearing, and the motion to dismiss for lack of personal jurisdiction

  is decided on the basis of affidavits and other materials, Plaintiffs need only make a prima facie

  showing that jurisdiction exists. Id.

         Plaintiffs “has the duty to support jurisdictional allegations in a complaint by competent

  proof of the supporting facts if the jurisdictional allegations are challenged by an appropriate

  pleading.” Pytlik v. Prof’l Res., Ltd., 887 F.2d 1371, 1376 (10th Cir. 1989). The allegations in

  Plaintiffs’ complaint “‘must be taken as true to the extent they are uncontroverted by

  [Defendants’] affidavits.’” Wenz, 55 F.3d at 1505 (quoting Doe v. Nat’l Med. Servs., 974 F.2d

  143, 145 (10th Cir. 1992)). If the parties present conflicting affidavits, all factual disputes must

  be resolved in Plaintiffs’ favor, and “plaintiff’s prima facie showing is sufficient notwithstanding




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  the contrary presentation by the moving party.” Id. (citation omitted). Only well-pled facts, as

  opposed to mere conclusory allegations, must be accepted as true. Id.

         To determine whether a federal court has personal jurisdiction over a nonresident

  defendant in a diversity action, the court looks to the law of the forum state. Taylor v. Phelan,

  912 F.2d 429, 431 (10th Cir. 1990). In Colorado, the assertion of personal jurisdiction must

  both: (1) satisfy the requirements of the long-arm statute; and (2) comport with due process. Id.;

  Doering v. Copper Mountain, Inc., 259 F.3d 1202, 1209 (10th Cir. 2001); Classic Auto Sales,

  Inc. v. Schocket, 832 P.2d 233, 235 (Colo. 1992). Colorado’s long-arm statute subjects a

  defendant to personal jurisdiction for engaging in — either in person or by an agent — the

  “commission of a tortious act within this state,” or the “transaction of any business within this

  state.” Colo. Rev. Stat. §§ 13–1–124(1)(a)–(b) (2007). To comport with due process, a

  defendant must have minimum contacts with the forum state such that maintenance of the

  lawsuit would not offend “traditional notions of fair play and substantial justice.” Int’l Shoe Co.

  v. Washington, 326 U.S. 310, 316 (1945). Colorado’s long-arm statute is a codification of the

  “minimum contacts” principle required by due process. See Lichina v. Futura, Inc., 260 F. Supp.

  252, 255 (D. Colo. 1966). Accordingly, under Colorado law, a court may assert jurisdiction to

  the fullest extent permitted by the Due Process Clause of the Fourteenth Amendment. See OMI

  Holdings, Inc., 149 F.3d at 1090; Scheur v. Dist. Ct., 684 P.2d 249 (Colo. 1984).

         C.      Failure to State a Claim Upon Which Relief Can Be Granted

         Federal Rule of Civil Procedure 12(b)(6) provides that a defendant may move to dismiss

  a claim for “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6)

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  (2007). “The court’s function on a Rule 12(b)(6) motion is not to weigh potential evidence that

  the parties might present at trial, but to assess whether the plaintiff’s complaint alone is legally

  sufficient to state a claim for which relief may be granted.” Dubbs v. Head Start, Inc., 336 F.3d

  1194, 1201 (10th Cir. 2003) (citations and quotation marks omitted).

          “A court reviewing the sufficiency of a complaint presumes all of plaintiff’s factual

  allegations are true and construes them in the light most favorable to the plaintiff.” Hall v.

  Bellmon, 935 F.2d 1106, 1198 (10th Cir. 1991). “To survive a motion to dismiss, a complaint

  must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

  on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949 (2009) (citing Bell Atlantic

  Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Plausibility, in the context of a motion to dismiss,

  means that the plaintiff pled facts which allow “the court to draw the reasonable inference that

  the defendant is liable for the misconduct alleged.” Id. The Iqbal evaluation requires two

  prongs of analysis. First, the court identifies “the allegations in the complaint that are not

  entitled to the assumption of truth,” that is, those allegations which are legal conclusion, bare

  assertions, or merely conclusory. Id. at 1949–51. Second, the Court considers the factual

  allegations “to determine if they plausibly suggest an entitlement to relief.” Id. at 1951. If the

  allegations state a plausible claim for relief, such claim survives the motion to dismiss. Id. at

  1950.

          Notwithstanding, the court need not accept conclusory allegations without supporting

  factual averments. Southern Disposal, Inc., v. Texas Waste, 161 F.3d 1259, 1262 (10th Cir.

  1998). “[T]he tenet that a court must accept as true all of the allegations contained in a

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  complaint is inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of

  action, supported by mere conclusory statements, do not suffice.” Iqbal, 129 S. Ct. at 1940.

  Moreover, “[a] pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the

  elements of a cause of action will not do.’ Nor does the complaint suffice if it tenders ‘naked

  assertion[s]’ devoid of ‘further factual enhancement.’” Id. at 1949 (citation omitted). “Where a

  complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of

  the line between possibility and plausibility of ‘entitlement to relief.’” Iqbal,129 S. Ct. at 1949

  (citation omitted).

                                              ANALYSIS

         In their Motion, Defendants Suthers and McLimans seek to dismiss Plaintiffs’ claims

  against them pursuant to Fed. R. Civ. P. 12(b)(1) and (6). (Mot. at 1.) As is relevant to this

  Recommendation, Defendants Suthers and McLimans maintains that (1) Plaintiffs’ tort claims, if

  any, are barred by the Colorado Government Immunity Act, Colo. Rev. Stat. § 24-10-101 et seq.;

  (2) Plaintiffs’ official capacity claims are barred by Eleventh Amendment Immunity; and (6) that

  Defendant McLimans is entitled to qualified immunity.4 (See Mot.)




         4
            Because the court finds that these three issues properly dispose of Defendants Suthers
  and McLimans’ Motion, the court does not address the remaining arguments in their
  Motion—namely, whether (1) Plaintiffs’ claims for damages against Defendant McLimans are
  barred by judicial immunity; (2) Plaintiffs’ claims against Defendant Suthers fail because
  Plaintiffs do not allege that Defendant Suthers personally participated in any violation of
  Plaintiffs’ constitutional rights under 42 U.S.C. § 1983, and (3) Defendant Suthers is entitled to
  qualified immunity. (Mot. at 9-14.)

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          A.      State Law Claims

          While Defendants Suthers and McLimans maintain that this court does not have

   jurisdiction over Plaintiffs’ state-law tort claims because Plaintiffs failed to file a notice of claim

   and because Plaintiffs’ claims do not fall within any area for which governmental immunity has

   been waived, a close review of Plaintiffs’ Complaint suggest that Plaintiffs do not actually assert

   any state-law tort claims. Defendants Suthers and McLimans’ confusion is somewhat

   understandable, as Plaintiffs preface their Complaint with a statement that “[t]his action arises

   . . . under Colorado common law for willful and wanton conduct with intentional and/or

   negligent infliction of emotional distress, theft of property, negligence, negligent supervision,

   gross, negligence, and civil conspiracy.” (Compl. at 1-2.) Additionally, Plaintiffs’ “Count V” is

   prefaced as a “violation of 18-9-202.5 CRS and 18-9-202 CRS.” (Id. at 28.)

          However, a review of the actual substance of Plaintiffs’ claims makes clear that they do

   not allege any state-law tort claims; instead they assert § 1983 claims for alleged violations of

   their constitutional rights. (Id. ¶¶ 198-246.) As to “Count V,” the substance of that claim

   demonstrates that Plaintiffs in fact allege that Colo. Rev. Stat § 18-9-202.5 and Colo. Rev. Stat §

   18-9-202 are unconstitutional, rather than that any defendant violated those statutes. (Id. ¶ 236.)

          Altogether, the court finds that Plaintiffs’ Complaint does not include any state-law tort

   claims that might be subject to the CGIA. And otherwise, the CGIA does not apply to § 1983

   claims. Martinez v. El Paso Cnty., 673 F. Supp. 1030, 1031 (D. Colo. 1987). Accordingly,

   Plaintiffs’ claims are not jurisdictionally barred pursuant to the CGIA.




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           B.      Eleventh Amendment Immunity

           Defendants Suthers and McLimans argue that Plaintiffs’ claims against them in their

   official capacities are barred by the Eleventh Amendment. (Mot. at 7-9.) The Eleventh

   Amendment to the United States Constitution states: “The Judicial power of the United States

   shall not be construed to extend to any suit in law or equity, commenced or prosecuted against

   one of the United States by Citizens of another State, or by Citizens or Subjects of any Foreign

   State.” U.S. Const. amend. XI. It has been interpreted to bar a suit by a citizen against the

   citizen’s own state in federal court. Johns v. Stewart, 57 F.3d 1544, 1552 (10th Cir. 1995). Suits

   against state officials in their official capacity should be treated as suits against the state. Hafer

   v. Melo, 502 U.S. 21, 25 (1991). This is because a suit against a state official in his or her

   official capacity is a suit against the official’s office and therefore is no different from a suit

   against the state itself. Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989). The

   Eleventh Amendment thus shields state officials, acting in their official capacities, from claims

   for monetary relief. See Hill v. Kemp, 478 F.3d 1236, 1255–56 (10th Cir. 2007).

           Moreover, a section 1983 action may only be brought against a person. See 42 U.S.C. §

   1983. Neither states nor state officers sued in their official capacity for monetary damages are

   persons within the meaning of section 1983. Will, 491 U.S. at 70–71.

           Plaintiffs are suing both Defendant Suthers and Defendant McLimans in their official

   capacity. (Compl. at 1.) In fact, Plaintiffs have named Defendant Suthers only in his official

   capacity. (Id.) Additionally, it is undisputed that Defendants Suthers and McLimans are state

   officials. (Mot. at 8; see generally Resp. at 4-10.) Contrary to Plaintiffs’ argument in their

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   Response (Resp. at 7-9), the State of Colorado has not waived its Eleventh Amendment

   immunity, see Griess v. Colorado, 841 F.2d 1042, 1044-45 (10th Cir. 1988), and congressional

   enactment of § 1983 did not abrogate Eleventh Amendment immunity, see Quern v. Jordan, 440

   U.S. 332, 340–345 (1979).5 Accordingly, the court finds that Defendants Suthers and McLimans

   are immune from Plaintiffs’ claims for damages against them in their official capacities.

           Eleventh Amendment immunity does not apply, however, to the extent that a plaintiff

   seeks prospective declaratory or injunctive relief pursuant to Ex Parte Young, 209 U.S. 123

   (1908). See Hill v. Kemp, 478 F.3d 1236, 1255–56 (10th Cir.2007) (under Ex Parte Young, “the

   Eleventh Amendment generally will not operate to bar suits so long as they (i) seek only

   declaratory and injunctive relief rather than monetary damages for alleged violations of federal

   law, and (ii) are aimed against state officers acting in their official capacities, rather than against

   the State itself.”); Roe No. 2 v. Ogden, 253 F.3d 1225, 1233 (10th Cir. 2001).

           Nevertheless, although Plaintiffs facially seek “declaratory, injunctive, and other

   appropriate relief” (Compl. at 1), upon review of Plaintiffs’ claims against Defendants Suthers

   and McLimans—or, more accurately, the lack thereof—it is unclear to the court what declaratory

   and/or injunctive relief Plaintiffs actually seek. More specifically, Plaintiffs’ Complaint is




           5
            Plaintiffs also cited to Monell v. Dept. of Soc. Servs., 436 U.S. 658, 690-91 (1978) and
   related cases for the proposition that governmental liability can be premised on an agency
   “custom, policy or practice.” (Resp. at 9-10.) However, Monell and its progeny outline the
   principals of municipal liability under § 1983; Monell does not alter the general premise that a
   state and its officials sued in their official capacity are entitled to Eleventh Amendment
   immunity from § 1983 claims.

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   entirely devoid of any factual allegations against Defendant Suthers.6 (See Compl.) And, while

   Plaintiffs do include some factual allegations as to Defendant McLimans, they fail to specify

   how Defendant McLimans’ allege failure to ensure that Plaintiffs’ restitution balance was correct

   violated their constitutional rights. (See id. ¶¶ 194-197; see generally id. ¶¶ 198-246.)

           Moreover, the court notes that Plaintiffs’ claims revolve entirely around past events. (See

   Compl.) The Ex Parte Young doctrine does “not go so far as to allow federal jurisdiction over a

   suit that seeks to redress past wrongs – only ongoing violations are covered.” ANR Pipeline Co.

   v. Lafaver, 150 F.3d 1178,1189 (10th Cir. 1998) (quoting Papasan v. Allain, 478 U.S. 265, 277-

   78 (1986)) overruled on other grounds by Hill v. Kemp, 478 F.3d 1236 (10th Cir. 2007); see also

   Buchwald v. Univ. of N.M. School of Med., 159 F.3d 487, 495 (citation omitted) (the Ex Parte

   Young exception “may not be used to obtain a declaration that a state officer has violated a

   plaintiff’s federal rights in the past”).

           Accordingly, although claims for declaratory and injunctive relief may survive under Ex

   Parte Young, the court finds that Plaintiffs fail to articulate any ongoing constitutional violation

   against Defendant Suthers and McLimans. Therefore, the court finds that Plaintiffs’ claims

   against Defendants Suthers and McLimans in their official capacity for damages, injunctive, and

   declaratory relief are properly dismissed. Additionally, because Plaintiffs have named



           6
            Plaintiffs have included “exhibits to reflect [their] inputs to a future one-time amended
   complaint in accordance with Fed. R. Civ. P. 15(a)(1),” which include additional allegations
   against Defendants Suthers and McLimans. (Resp. at 2; see also id., Ex. A-E.) However,
   because Plaintiffs have not actually so amended their Complaint, nor have they moved to amend
   their Complaint, the court does not consider these additional allegations.

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   Defendant Suthers solely in his official capacity, the court finds that he is properly dismissed as

   a defendant.

          C.      Qualified Immunity

          Defendants Suthers and McLimans maintain that Defendant McLimans is entitled to

   qualified immunity from Plaintiffs’ claims against her in her individual capacity. (Mot. at 11-

   14.) The doctrine of qualified immunity shields government officials from individual liability

   for civil damages “insofar as their conduct does not violate clearly established statutory or

   constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald,

   457 U.S. 800, 818 (1982). Although qualified immunity is most often raised at the summary

   judgment stage, the Tenth Circuit has recognized the propriety of raising a qualified immunity

   defense in a motion to dismiss. See Pueblo Neighborhood Health Ctr., Inc. v. Losavio, 847 F.2d

   642, 645–46 (10th Cir. 1988). Once the defense is asserted, the burden shifts to Plaintiffs to

   establish 1) that Defendant McLimans’ actions violated a federal constitutional or statutory right

   and 2) that the federal right was clearly established at the time of the challenged conduct. PJ ex

   rel. Jensen v. Wagner, 603 F.3d 1182, 1196 (10th Cir. 2010); see also Losavio, 847 F.2d at 646.

   Although the qualified immunity analysis involves a two-part inquiry, if the plaintiff fails either

   prong, reviewed in any order, qualified immunity is appropriate and no further inquiry need be

   undertaken. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

          Here, as discussed above Plaintiffs fail to allege that Defendant McLimans violated their

   federal constitutional or statutory rights. Again, although Plaintiffs allege that Defendant

   McLimans failed to ensure that their restitution balance was correct throughout the life of the

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   balance (Compl. ¶¶ 194-97), Plaintiffs fail to allege how these alleged actions violated their

   constitutional rights. See Nasious v. Two Unknown B.I.C.E. Agents, 492 F.3d 1158, 1163 (10th

   Cir. 2007) (stating that a complaint “must explain what each defendant did to [each Plaintiff];

   when the defendant did it; how the defendant’s actions harmed him or her; and, what specific

   legal right the plaintiff believes the defendant violated.”) Consequently, the court finds that

   Plaintiffs have failed to demonstrate that Defendants McLimans violated their federal

   constitutional or statutory rights under the first prong of the qualified immunity inquiry.

   Accordingly, the court finds that Defendant McLimans is entitled to qualified immunity with

   respect to Plaintiffs’ claims against her in her individual capacity.

          Altogether, the court finds that Plaintiffs’ claims against Defendants Suthers and

   McLimans in their official capacity are barred by Eleventh Amendment immunity and that

   Defendant McLimans is entitled to qualified immunity as to Plaintiffs’ individual capacity

   claims against her. Therefore, the court finds that Defendants Suthers and McLimans’ Motion is

   properly granted.

          WHEREFORE, for the foregoing reasons, the court respectfully

          RECOMMENDS that

          The “Motion to Dismiss of Defendants Suthers and McLimans” (Doc. No. 3) be

   GRANTED.

                                 ADVISEMENT TO THE PARTIES

          Within fourteen days after service of a copy of the Recommendation, any party may

   serve and file written objections to the Magistrate Judge’s proposed findings and

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   recommendations with the Clerk of the United States District Court for the District of Colorado.

   28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583 (10th Cir. 1995). A

   general objection that does not put the district court on notice of the basis for the objection will

   not preserve the objection for de novo review. “[A] party’s objections to the magistrate judge’s

   report and recommendation must be both timely and specific to preserve an issue for de novo

   review by the district court or for appellate review.” United States v. One Parcel of Real Prop.

   Known As 2121 East 30th Street, Tulsa, Okla., 73 F.3d 1057, 1060 (10th Cir. 1996). Failure to

   make timely objections may bar de novo review by the district judge of the magistrate judge’s

   proposed findings and recommendations and will result in a waiver of the right to appeal from a

   judgment of the district court based on the proposed findings and recommendations of the

   magistrate judge. See Vega v. Suthers, 195 F.3d 573, 579-80 (10th Cir. 1999) (a district court’s

   decision to review a magistrate judge’s recommendation de novo despite the lack of an objection

   does not preclude application of the “firm waiver rule”); One Parcel of Real Prop., 73 F.3d at

   1059-60 (a party’s objections to the magistrate judge’s report and recommendation must be both

   timely and specific to preserve an issue for de novo review by the district court or for appellate

   review); Int’l Surplus Lines Ins. Co. v. Wyo. Coal Ref. Sys., Inc., 52 F.3d 901, 904 (10th Cir.

   1995) (by failing to object to certain portions of the magistrate judge’s order, cross-claimant had

   waived its right to appeal those portions of the ruling); Ayala v. United States, 980 F.2d 1342,

   1352 (10th Cir. 1992) (by their failure to file objections, plaintiffs waived their right to appeal

   the




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   magistrate judge’s ruling); but see, Morales-Fernandez v. INS, 418 F.3d 1116, 1122 (10th Cir.

   2005) (firm waiver rule does not apply when the interests of justice require review).

          Dated this 2nd day of March, 2012.




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